     Case: 1:20-cv-01227 Document #: 7 Filed: 03/02/20 Page 1 of 1 PageID #:248




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CENTER FOR BIOLOGICAL                           )
DIVERSITY, INC., et al..,                       )
                                                )
                             Plaintiffs,        )
                                                )
                                                          No. 20 C 1227
                       v.                       )
                                                )
                                                          Judge Alonso
DAVID BERNHARDT,                                )
Secretary of the U.S. Department                )
of the Interior, et al.,                        )
                                                )
                             Defendants.        )

                                 ATTORNEY DESIGNATION

       PLEASE TAKE NOTICE that the undersigned Assistant United States Attorney has been

designated in the above captioned case. This designation is provided for informational purposes

only and does not constitute an appearance, a motion, or a responsive pleading and does not waive

any defenses. See LR 83.16(b).


                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

                                            By: s/ Nigel B. Cooney
                                               NIGEL B. COONEY
                                               Assistant United States Attorney
                                               219 South Dearborn Street
                                               Chicago, Illinois 60604
                                               (312) 353-1996
                                               nigel.cooney@usdoj.gov
